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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
CASE SUMMARY

 

 

Case Number LA C KY 0 = 0 0 0 6 U = JM dant number

U.S.A. v. STEPHEN WILLIAM BEAL

 

Indictment [_] Information

 

 

Year of Birth 1959

 

Investigative agency (FBI, DEA, etc.) FBI

_ NOTE: Allitems are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[|] ClassA Misdemeanor [_] Minor Offense [_] Petty Offense
[] Class B Misdemeanor — [_] Class C Misdemeanor [¥] Felony

b, Date of Offense April 4, 2011 through February 4, 2015
c, County in which first offense occurred

 

Los Angeles
d. The crimes charged are alleged to have been committed in:

CHECK ALL THAT APPLY

Los Angeles

Orange
[_| Riverside
[_] San Bernardino

 

[| Ventura

[_] Santa Barbara
[_] San Luis Obispo
[] Other

Citation of Offense 18 U.S.C. § 152(1) and 18 U.S.C, § 152(7)

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[| Eastern (Riverside and San Bernardino) [| Southern (Orange)
RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

No [_] Yes

filed and dismissed before trial?

IF YES Case Number

Pursuant to General Order 14-03, criminal cases may be related

 

if a previously filed indictment or information and the present

case: |

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE United States v. Stephen Beal,
SA CR 19-47-JLS

 

 

PREVIOUSLY FILED COMPLAINT

A complaint was previously filed on: 03/01/2019
CaseNumber SA-19-131M

18 U.S.C. § 844(1)

 

Charging a

 

The complaint: is still pendings

[-] was dismissed on:
PREVIOUS COUNSEL
Was defendant previously represented?-
iF YES, provide Name: DFPD Amy Karliry:
Phone Number: (714) 338-4504 *
COMPLEX CASE

 

 

 

    

bed wer

 

Are there 8 or more defendants in the Indictment/Information?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
UME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS

Superseding Indictment/Information

[] Yes

superseding charge, i.e. 1st, 2nd.

IS THIS A NEW DEFENDANT?

This is the
The superseding case was previously filed on:

[¥] No

 

Case Number

 

The superseded case:

[] is still pending before Judge/Magistrate Judge

 

[-] was previously dismissed on
Are there 8 or more defendants in the superseding case?
[| Yes* [| No

Will more than 12 days be required to present government's
evidence in the case-in-chief?
[_] No

[_] Yes*

 

 

CR-72 (08/16)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

Was a Notice of Complex Case filed on the Indictment or
Information?

[_] Yes No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

Is an interpreter required? | YES NO
IF YES, list language and/or dialect:

 

OTHER
Male , [_] Female
U.S. Citizen [-] Alien

Alias Name(s)

 

 

This defendant is charged in: All counts

[| Only counts:

 

[_] This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per

18 USC § 3166 (b){7).
Is defendant ajuvenile? [_]Yes No
IF YES, should matter be sealed? [_] Yes [_] No

The area of substantive law that will be involved in this case
includes:

[_] financial institution fraud [] public corruption
[_] tax offenses

[_] mail/wire fraud

[_] immigration offenses

[_] government fraud
[_] environmental issues
[_] narcotics offenses

[_| violent crimes/firearms [] corporate fraud

Other bankruptcy fraud

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint:

b. Posted bond at complaint level on:

in the amount of $

 

c. PSA supervision? [| Yes [-]No
d. Is on bail or release from another district:

 

Defendant is in custody:
a. Place of incarceration: [_] State

Federal

b. Name of Institution: Santa Ana Jail
c. If Federal: U.S. Marshal's Registration Number:

 

 

d.[_] Solely on this charge. Date and time of arrest:

 

e, On another conviction: [_] Yes [-] No
IFYES: [_] State [_] Federal [| Writ of Issue
f. Awaiting trial on other charges: oO Yes Cl No
IFYES: — [] State [_] Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

+

 

 

 

_ Date 01/24/2020

Wal LZ

Signature of Assistant U.S. Attorney
MARK TAKLA
Print Name

 

CR-72 (08/16)

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